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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    In re:                                                           Bankruptcy Case No: 18-23979-GLT

    LAWSON NURSING HOME, INC., 1                                     Chapter 11

                     Debtor.

    WILLIAM G. KRIEGER, CHAPTER 11                                   Docket No.
    TRUSTEE OF LAWSON NURSING HOME,
    INC.,
                                                                     Related Docket Nos. 242, 243, 258, 268 and
                     Movant,                                         328
    v.
                                       Hearing Date & Time: September 27, 2019
    THE HUNTINGTON NATIONAL BANK,      at 10:00 a.m. (prevailing Eastern Time)
    JOHNSON PHARMACEUTICAL
    SERVICES, INC., BFS CAPITAL,       Response Date: September 20, 2019
    BRIDGEPORT CAPITAL FUNDING, LLC,   by 4:00 p.m. (prevailing Eastern Time)
    EVEREST BUSINESS FUNDING,
    ALLEGHENY COUNTY TREASURER,
    WEST JEFFERSON HILLS SCHOOL
    DISTRICT, JEFFERSON HILLS BOROUGH,
    COMMONWEALTH OF PENNSYLVANIA,
    PENNSYLVANIA DEPARTMENT OF
    REVENUE, PENNSYLVANIA
    DEPARTMENT OF HUMAN SERVICES,
    PENNSYLVANIA DEPARTMENT OF
    HEALTH, INTERNAL REVENUE
    SERVICE, U.S. DEPARTMENT OF
    HEALTH AND HUMAN SERVICES,
    CENTERS FOR MEDICARE AND
    MEDICAID SERVICES, THE OFFICE OF
    THE UNITED STATES TRUSTEE, BANK
    DIRECT CAPITAL FINANCE, COFACTOR,
    LLC, ATLAS ACQUISITIONS, LLC,
    ACCELERATED CARE PLUS LEASING,
    INC., AND RICOH USA, INC.

                     Respondents.




1
  The Debtor in this case along with the last four digits of its federal tax identification number is Lawson Nursing Home, Inc.
(5754)

                                                                 1
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                                EXHIBIT A
NOTICE OF DESIGNATION OF JEFFERSON HILLS HOLDINGS, LLC
               AS STALKING HORSE BIDDER




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